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 1                                    UNITED STATES DISTRICT COURT
 2                                   NORTHERN DISTRICT OF CALIFORNIA
 3                                                  )
     IN RE: CATHODE RAY TUBE (CRT)
     ANTITRUST LITIGATION                           )   Case No:     3:07-CV-5944 SC
 4                                                  )
                                                    )   APPLICATION FOR
 5                                                  )   ADMISSION OF ATTORNEY
                                                    )   PRO HAC VICE
 6   This document relates to:                      )   (CIVIL LOCAL RULE 11-3)
                                                    )
 7   ALL ACTIONS                                    )
                                                    )
 8
          I, Courtney C. Byrd, an active member in good standing of the bar of the District of Columbia , hereby
 9
     respectfully apply for admission to practice pro hac vice in the Northern District of California representing:
10   Samsung Electronics America, Inc. and Samsung Electronics Co., Ltd. in the above-entitled action. My local
     co-counsel in this case is Michael Tubach , an attorney who is a member of the bar of this Court in good
11   standing and who maintains an office within the State of California.
       MY ADDRESS OF RECORD:                                    LOCAL CO-COUNSEL'S ADDRESS OF RECORD:
12
       1625 Eye St., N.W.                                       Two Embarcadero Center, 28th Floor
13     Washington, D.C. 20006                                   San Francisco, CA 94111-3823

       MY TELEPHONE # OF RECORD:                                LOCAL CO -C OUNSEL' S TELEPHONE # OF RECORD:
14     (202) 383-5300                                           (415) 984-8700
       MY EMAIL ADDRESS OF RECORD:                              LOCAL CO-COUNSEL'S EMAIL ADDRESS OF RECORD:
15     cbyrd@omm.com                                            mtubach@omm.com

16         I am an active member in good standing of a United States Court or of the highest court of another State
      or the District of Columbia, as indicated above; my bar number is: 999175.
17        A true and correct copy of a certificate of good standing or equivalent official document from said bar is
      attached to this application.
18        I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the Standards of
      Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
19
          I declare under penalty of perjury that the foregoing is true and correct.
20
      Dated: November 28, 2012                                     /s/ Courtney C. Byrd
21                                                                                    APPLICANT

22
23                                        ORDER GRANTING APPLICATION
                                   FOR ADMISSION OF ATTORNEY PRO HAC VICE
24
          IT IS HEREBY ORDERED THAT the application of Courtney C. Byrd                              is granted,
25   subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
     appearance pro hac vice. Service of papers upon, and communication with, local co-counsel designated in
26   the application will constitute notice to the party.
27   Dated:
28                                                              UNITED STATES DISTRICT/MAGISTRATE JUDGE



     PRO HAC VICE APPLICATION & ORDER                                                                   October 2012
